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13

14                        UNITED STATES DISTRICT COURT
15                FOR THE CENTRAL DISTRICT OF CALIFORNIA
16                              WESTERN DIVISION
17   ENERGIZER BRANDS, LLC, a               Case No. 2:19-cv-04360
     Delaware Limited Liability Company,
18
                 Plaintiff,                 COMPLAINT FOR:
19
           v.                               (1) TRADEMARK
20                                          INFRINGEMENT UNDER 15 U.S.C.
                                            § 1114(1);
21   LUMINTOP TECHNOLOGY CO.,               (2) CONTRIBUTORY
     LTD., a California Corporation;        TRADEMARK INFRINGEMENT
22   SHENZHEN LEIMINGYU                     UNDER 15 U.S.C. § 1114(1);
     OPTOELECTRONICS CO., LTD., a           (3) FALSE DESIGNATION OF
23   Chinese Corporation; and HE            ORIGIN UNDER 15 U.S.C. §
     YONGQING,                              1125(A);
24                                          (4) CONTRIBUTORY FALSE
                 Defendants.                DESIGNATION OF ORIGIN
25                                          UNDER 15 U.S.C. § 1125(A);
                                            (5) TRADEMARK DILUTION
26                                          UNDER 15 U.S.C. § 1125(C);
                                            (6) CONTRIBUTORY
27                                          TRADEMARK DILUTION UNDER
                                            15 U.S.C. § 1125(C);
28                                          (7) STATUTORY UNFAIR


     COMPLAINT                                                            -1-
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 1                                                COMPETITION UNDER CAL.
                                                  BUS. & PROF. CODE § 17200;
 2                                                (8) CONTRIBUTORY
                                                  STATUTORY UNFAIR
 3                                                COMPETITION UNDER CAL.
                                                  BUS. & PROF. CODE § 17200;
 4                                                (9) STATUTORY DILUTION
                                                  UNDER CAL. BUS. & PROF. CODE
 5                                                § 14247;
                                                  (10) CONTRIBUTORY
 6                                                STATUTORY DILUTION UNDER
                                                  CAL. BUS. & PROF. CODE § 14247;
 7                                                (11) COMMON LAW
                                                  TRADEMARK INFRINGEMENT
 8                                                AND UNFAIR COMPETITION;
                                                  (12) CONTRIBUTORY COMMON
 9                                                LAW
                                                  TRADEMARK INFRINGEMENT
10                                                AND UNFAIR COMPETITION
11                                                DEMAND FOR JURY TRIAL
12
           Plaintiff Energizer Brands, LLC (“Energizer” or “Plaintiff”), by and through
13
     its undersigned counsel of record, for its Complaint against Defendants Lumintop
14
     Technology Co., Ltd. (“Lumintop”), Shenzhen Leimingyu Optoelectronics Co., Ltd.
15
     (“SLOC”), and He Yongqing (“Yongqing”) (collectively “Defendants”) alleges as
16
     follows:
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                                  NATURE OF THE CASE
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         1.       The Energizer Bunny is one of the most famous trademarks—and one of
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     the most iconic brand mascots—in the United States. Brazenly, Defendants are using
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     a bunny logo to sell directly competitive products, and to trade on the Energizer
21
     Bunny’s goodwill. Defendants’ egregious activity constitutes trademark infringement
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     and dilution under federal and state law.
23
         2.       For thirty years, Energizer1—a global manufacturer, marketer and
24
     distributor of household batteries, specialty batteries, and portable lights—has used
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     an iconic design trademark consisting of a pink toy bunny banging on a drum (the
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28     “Energizer” refers to Plaintiff Energizer Brands, LLC and its predecessors-in-
     interest.

     COMPLAINT                                                                     -2-
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 1   “Energizer Bunny Mark”), one form of which, depicted below, is covered by an
 2   incontestable federal trademark registration:
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 8       3.       The Energizer Bunny Mark consistently has been a central figure in
 9   Energizer’s advertising and promotional efforts, and a critical, tangible element of the
10   ENERGIZER brand. Energizer has widely used the Energizer Bunny Mark in
11   connection with batteries, as well as chargers, flashlights, and other related products,
12   examples of which appear below:
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     COMPLAINT                                                                      -3-
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         4.       On information and belief, Defendants are manufacturing and selling

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     batteries, battery chargers, and lighting products, such as flashlights and headlights,

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     in the United States, using a confusingly similar variation of the Energizer Bunny

14
     Mark as depicted below:

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     COMPLAINT                                                                      -4-
Case 2:19-cv-04360-AB-AS Document 1 Filed 05/20/19 Page 5 of 31 Page ID #:5


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11       5.       Defendants have both actual and constructive knowledge of Energizer’s
12   superior rights, and yet still persist in using a bunny design to sell the same types of
13   goods as are sold under the Energizer Bunny Mark. In 2015, on information and
14   belief, SLOC or its affiliate or predecessor-in-interest, filed a trademark application
15   in the United States Patent and Trademark Office (“USPTO”) for the design
16   depicted below:
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22       6.       That design, the “Lumintop Bunny,” was the subject of the SLOC
23   application (U.S. App. Serial No. 86/573,770) for flashlights, lighting fixtures,
24   search lights, and other electronics.
25       7.       Energizer filed a Notice of Opposition to the Lumintop Bunny
26   application. The Trademark Trial and Appeal Board (“TTAB”) entered judgment on
27   behalf of Energizer when SLOC failed to respond, and defaulted.
28       8.       In the face of that default judgment, Defendant Yongqing filed

     COMPLAINT                                                                       -5-
Case 2:19-cv-04360-AB-AS Document 1 Filed 05/20/19 Page 6 of 31 Page ID #:6


 1   additional applications that included the Lumintop Bunny for batteries, battery
 2   chargers, and other goods (U.S. App. Serial No. 87/639,219) and for flashlights,
 3   lighting apparatus, and other goods (U.S. App. Serial No. 87/639,246). The applied
 4   for mark is depicted below:
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10       9.       Energizer timely opposed these SLOC applications by filing a Notice
11   of Opposition with the TTAB on April 2, 2019.
12      10.       Defendants’ use of the Lumintop Bunny on packaging, products,
13   websites and other materials distributed, manufactured, advertised offered for sale,
14   and sold in the United States is likely to cause confusion among purchasers and
15   customers as to the source, origin or sponsorship of Defendants’ products. In
16   particular, the public is likely to mistakenly believe Defendants’ products originate
17   from or are affiliated, connected, or associated with Energizer or the Energizer
18   Bunny Mark.
19      11.       Energizer brings this action at law and in equity for direct and
20   contributory trademark infringement under Section 32 of the Trademark Act of 1946
21   (the “Lanham Act”), 15 U.S.C. § 1114; direct and contributory unfair competition,
22   false representation, and false designation of origin under Section 43(a) of the
23   Lanham Act, 15 U.S.C. § 1125(a); direct and contributory trademark dilution under
24   Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c); direct and contributory
25   unlawful, unfair and/or fraudulent ongoing business practices in violation of
26   California Business and Professions Code § 17200; direct and contributory
27   trademark dilution in violation of California Business and Professional Code §
28   14247; and direct and contributory trademark infringement and unfair competition


     COMPLAINT                                                                       -6-
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 1   in violation of California common law.
 2      12.       Energizer seeks a permanent injunction against Defendants’ use of the
 3   Lumintop Bunny and any other designation confusingly similar to the Energizer
 4   Bunny Mark or likely to dilute the distinctiveness of the Energizer Bunny Mark.
 5   Energizer also seeks monetary damages resulting from Defendants’ willful
 6   commercial activities, an accounting of Defendants’ profits from such commercial
 7   activities, Energizer’s attorneys’ fees and costs, and punitive damages.
 8                                       THE PARTIES
 9      13.       Plaintiff Energizer Brands, LLC is Delaware limited liability company
10   with a principal place of business at 533 Maryville University Drive, St. Louis,
11   Missouri, 63141.
12      14.       On information and belief, Lumintop Technology Co., Ltd. is a
13   California corporation with its principal place of business in California, and is a
14   subsidiary or affiliate of Defendant Shenzhen Leimingyu Optoelectronics Co., Ltd.,
15   and it distributes, sells and offers for sale the infringing products in the United
16   States, including California.
17      15.       On information and belief, Defendant Shenzhen Leimingyu
18   Optoelectronics Co., Ltd., is a Chinese corporation that manufactures and distributes
19   the infringing goods for sale in the United States, including in California.
20      16.       On information and belief, Defendant Yongqing is an individual
21   residing in China and is an officer or director of Defendant Lumintop. A copy of a
22   California Secretary of State print-out showing Yongqing’s signature as the
23   incorporator of Lumintop is attached as Exhibit 1, and on information and belief,
24   Yongqing is the founder and owner of Defendant SLOC. On information and belief,
25   Yongqing knowingly authorized, directed, and/or substantially participated in the
26   infringing activity described in this Complaint.
27

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     COMPLAINT                                                                        -7-
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 1                             JURISDICTION AND VENUE
 2      17.       This action arises under the trademark laws of the United States, 15
 3   U.S.C. § 1051, et seq., particularly under 15 U.S.C. §§ 1114 and 1125, as well as
 4   California statutory unfair competition and dilution law and the common law of
 5   unfair competition and trademark infringement in California. This Court has
 6   jurisdiction over the federal claims under 28 U.S.C. §§ 1331 and 1338, and 15
 7   U.S.C. §§ 1116, 1121, and 1125. This Court has supplemental jurisdiction over the
 8   state law claims under 28 U.S.C. §§ 1367(a) and 1338(b), those claims being joined
 9   with a substantial and related claim under the trademark laws of the United States
10   and so related to the federal claims that they form part of the same case or
11   controversy and derive from a common nucleus of operative fact.
12      18.       This Court has personal jurisdiction over Defendants because, on
13   information and belief, Defendants’ tortious actions have occurred in California,
14   where Defendant Lumintop is incorporated and where Energizer offers for sale and
15   sells products bearing the Energizer Bunny Mark, and have caused and will continue
16   to cause harm to Energizer in California.
17      19.       This Court has general jurisdiction over Lumintop because it is a
18   California corporation.
19      20.       This Court has jurisdiction over SLOC because, on information and
20   belief, SLOC authorized and directed, and continues to authorize and direct the
21   activities of Lumintop, a California corporation that sells and offers for sale batteries
22   and lighting products bearing the Lumintop Bunny. Moreover, on information and
23   belief, SLOC knowingly manufactured items bearing the Lumintop Bunny for sale
24   in the United States, including in California.
25      21.       This Court has jurisdiction over Yongqing because, on information and
26   belief, Yongqing has also harmed, and will continue to harm Energizer in California
27   as an officer or director of California corporation Lumintop, and Yongqing
28   knowingly authorized, supervised, directed, controlled or substantially participated


     COMPLAINT                                                                       -8-
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 1   in the infringing activity described in this Complaint.
 2        22.     Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because,
 3   on information and belief, a substantial part of the events or omissions giving rise to
 4   Energizer’s claims occurred in this District.
 5                         FACTS COMMON TO ALL CLAIMS
 6   A.     The Famous Energizer Bunny Trademark
 7        23.     Since at least as early as 1989, Energizer has continuously used, and
 8   presently uses, the Energizer Bunny Mark in interstate commerce throughout the
 9   United States in connection with the advertising, promotion, distribution, and sale of
10   batteries. Since at least as early as 2013, Energizer has also continuously used, and
11   presently uses the Energizer Bunny Mark in interstate commerce throughout the
12   United States in connection with the advertising, promotion, distribution, and sale of
13   consumer lighting products, such as flashlights and headlights.
14        24.     Energizer is the owner of a numerous federal trademark registrations for
15   the Energizer Bunny Mark. Depicted below is one such federal trademark
16   registration, Reg. No. 2028373, which issued in 1997 for “batteries”:
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22   Affidavits have been filed pursuant to Sections 8 and 15 of the Lanham Act, 15
23   U.S.C. §§ 1058 and 1065, and this registration is incontestable and is conclusive
24   evidence of Energizer’s rights to the mark covered by the registration under Section
25   33(b) of the Lanham Act, 15 U.S.C. § 1115(b). A copy of the Certificate of
26   Registration for this mark is attached as Exhibit 2.
27        25.     Energizer also owns other federal trademark registrations for the
28   Energizer Bunny Mark. For example, the mark depicted below is the subject of a


     COMPLAINT                                                                      -9-
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 1   federal registration, Reg. No. 4654043, that issues in 2014 for “batteries.” A copy of
 2   the Certificate of Registration for this mark is attached as Exhibit 3.
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 7      26.       Energizer also owns a federal registration of the mark depicted below
 8   (Reg. No. 4972279), which issued in 2013 for “flashlights.” A copy of the Certificate
 9   of Registration for this mark is attached as Exhibit 4.
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14      27.       Energizer also owns a myriad of other federal trademark registrations for
15   the words ENERGIZER BUNNY and the Energizer Bunny Mark, including for
16   batteries and battery chargers. Copies of the Certificates of Registration for the below
17   marks are attached as Exhibit 5.
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                 Trademark                  Reg. No.      Reg. Date       Goods/Services

20                                                                        Cl. 9
21                                                                        Computers
      ENERGIZER BUNNY                                   January 21,
                                           2677374                        programs,
22                                                      2003
                                                                          namely
23                                                                        screensavers
                                                                          Cl. 25 Clothing,
24    ENERGIZER BUNNY                                   November 25,      namely caps, t-
                                           2786582
25                                                      2003              shirts, jackets,
                                                                          sweatshirts
26

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     COMPLAINT                                                                     - 10 -
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 1                                                                Cl. 20
 2                                                                Containers of
                                                                  plastic for
 3                                                                consumer
 4                                                September 5,    product
                                       5282543
                                                  2017            packaging and
 5                                                                plastic boxes for
 6                                                                dispensing
                                                                  confectioneries
 7                                                                and candles
 8                                                                Cl. 28 Toys and
                                                                  novelty items,
 9                                                August 22,      namely, plastic
                                       5272577
10                                                2017            candy
                                                                  dispensers
11                                                                designed as toys
12
                                                                  Cl. 9 Batteries
13                                     4972266    June 7, 2016    and battery
14                                                                chargers

15                                                                Cl. 45
                                                                  Providing
16
                                                                  information in
17                                                                the field of
                                                                  battery safety,
18                                     4972271    June 7, 2016
                                                                  battery
19                                                                recycling,
                                                                  emergency
20
                                                                  preparedness,
21                                                                and fire safety
22

23                                                October 18,     Cl. 14 Lapel
                                       5062532
                                                  2016            pins
24

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     COMPLAINT                                                             - 11 -
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 1                                                                     Cl. 16 Pens;
 2                                                                     Blank journal
                                                                       books; magnetic
 3                                                   October 4,        clips, namely,
                                         5053272
 4                                                   2016              paper clips;
                                                                       stickers;
 5                                                                     coloring and
 6                                                                     activity books
                                                                       Cl. 18
 7                                                                     Backpacks;
 8                                                                     luggage tags;
                                                     October 18,       tote bags; sack
 9                                       5062533
                                                     2016              packs, namely,
10                                                                     drawstring bags
                                                                       used as
11                                                                     backpacks
12                                                                     Cl. 20 Non-
                                                     October 18,       metal and non-
13                                       5062534
                                                     2016              leather key
14                                                                     chains
15                                                                     Cl. 21 Cleaning
                                                                       cloth; insulated
16                                                                     containers for
17                                                   October 18,       beverage cans
                                         5062535
                                                     2016              for domestic
18                                                                     use; tumblers
19                                                                     for use as
                                                                       drinking glasses
20
                                                                       Cl. 28 Golf
21                                                   October 18,
                                         5062536                       balls
22                                                   2016
23

24

25      28.      Energizer has devoted enormous resources to the marketing, advertising,
26   and promotion of batteries sold in connection with the Energizer Bunny Mark. In the
27   last five years alone, Energizer has spent more than $300 million promoting
28


     COMPLAINT                                                                     - 12 -
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 1   Energizer products in the United States, and the vast majority of that advertising,
 2   marketing, and promotional material depicts or refers to the Energizer Bunny Mark.
 3      29.       The Energizer Bunny Mark has been recognized as one of the top 10
 4   brand icons of the 20th century by Advertising Age (March 29, 1999), and unsolicited
 5   media coverage has referred to “the highly successful Energizer Bunny commercials”
 6   (Miami Herald, May 10, 1993), “Energizer, famous for its unstoppable bunny” (St.
 7   Louis Post-Dispatch, July 14, 2007), and “[t]he iconic Energizer Bunny” (Adweek,
 8   October 28, 2015). The Energizer Bunny was inducted into the Madison Avenue
 9   Walk of Fame of Fame in 2017 (“Presenting the 2017 Madison Avenue Walk of
10   Fame Winners,” Advertising Week, September 27, 2017). The Energizer Bunny also
11   has been featured in books such as America’s Greatest Brands: An Insight into 80 of
12   America’s Strongest Brands Volume 1 (2001), as well as The 100 Best TV
13   Commercials . . . and Why They Worked (June 7, 1999), in which he earned a spot on
14   the cover:
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21      30.       The Energizer Bunny Mark has been at the forefront of many
22   ENERGIZER advertisements since its original debut in 1989, having appeared in
23   national campaigns in a variety of contexts over the years, including—as depicted
24   below—facing the Star Wars “dark side” in 1994, voyaging into space in 2008, and
25   introducing the world’s first AA batteries made with recycled batteries in 2015:
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     COMPLAINT                                                                     - 13 -
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 7      31.       The Energizer Bunny Mark has played a central role in various
 8   Energizer promotions, including appearances at the Great Forest Park Balloon Race
 9   in St. Louis (as the Energizer Bunny Hot “Hare” Balloon) and the 2009 Macy’s
10   Thanksgiving Day Parade® (where he escaped the parade route to “keep going and
11   going”), kicking off the ENERGIZER Night Race for a Brighter World event in 2011
12   where Energizer headlights were used by racers, walking down the runway at New
13   York Fashion Week in 2016, and appearing in social media pages dedicated to the
14   Energizer Bunny Mark, such as on Facebook (more than 450,000 likes) and Twitter
15   (more than 21,000 followers).
16      32.       In the past few years alone, Energizer has sold more than 4 billion units
17   of ENERGIZER batteries, the vast majority of which have been sold in packaging, or
18   in connection with displays, advertising, or other materials, depicting or referring to
19   the Energizer Bunny Mark. Energizer battery chargers and flashlights and headlights
20   also have been sold in packaging, or in connection with displays, advertising, or other
21   materials, depicting or referring to the Energizer Bunny Mark.
22      33.       As a result of Energizer’s long and continuous use of the Energizer
23   Bunny Mark in connection with its products, and as a consequence of Energizer’s
24   extensive advertising, promotion, distribution, and sale of products under its
25   Energizer Bunny Mark, the relevant and consuming public has come to recognize the
26   Energizer Bunny Mark as originating from and used by Energizer, and to associate
27   and identify the goods and services, such as batteries, battery chargers, and flashlights
28   and headlights, offered and sold under the Energizer Bunny Mark exclusively with

     COMPLAINT                                                                        - 14 -
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 1   Energizer. Energizer consequently derives an invaluable goodwill from this
 2   recognition, association, and identification by the consuming public and the trade.
 3        34.     Because of the high degree of inherent and acquired distinctiveness of
 4   the Energizer Bunny Mark, the length of time and extent to which Energizer has used
 5   the Energizer Bunny Mark, the vast advertising and publicity of which the Energizer
 6   Bunny Mark has been the subject, the substantial trading area in which the Energizer
 7   Bunny Mark has been and is used, and the high degree of consumer recognition of the
 8   Energizer Bunny Mark, the Energizer Bunny Mark was a well-known and famous
 9   trademark widely recognized by the general consuming public of the United States as
10   a designation of source of Energizer’s goods and deserving of a broad scope of legal
11   protection prior to Defendants’ unlawful use of a confusingly similar imitation of the
12   Energizer Bunny Mark on batteries, battery chargers, and lighting products offered
13   for sale and sold in the United States.
14   B.     Defendants’ Unlawful Conduct
15        35.     Notwithstanding Energizer’s exclusive and superior rights in, to, and
16   under the Energizer Bunny Mark in the United States, Defendants are manufacturing
17   selling, and/or offering for sale, and advertising, marketing, and promoting
18   (including through their websites and social media accounts), battery, battery
19   chargers, and lighting products bearing the confusingly similar Lumintop Bunny in
20   the United States.
21        36.     On information and belief, all Defendants are either manufacturing or
22   participating in the production, distribution, advertising, or sale or offering for sale
23   of battery and lighting products bearing the Lumintop Bunny.
24        37.     Defendants own and operate the websites www.lumintoponline.com
25   and www.lumintop.com, through which they sell and offer for sale products bearing
26   the infringing Lumintop Bunny to consumers in the United States. Copies of
27   screenshots from www.lumintoponline.com and www.lumintop.com are attached as
28   Exhibit 6.


     COMPLAINT                                                                        - 15 -
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 1      38.       Defendants also sell and offer for sale products bearing the infringing
 2   Lumintop Bunny to consumers in the United States through third-party retailers like
 3   Amazon. Copies of screenshots from Amazon.com are attached as Exhibit 7.
 4      39.       Defendants advertise their products bearing the Lumintop Bunny
 5   through Facebook and Twitter. Defendants use the Lumintop Bunny throughout
 6   their Facebook and Twitter pages to identify the source of the goods they sell.
 7   Copies of screenshots from Defendants’ Facebook and Twitter pages are attached as
 8   Exhibits 8 and 9, respectively.
 9      40.       On information and belief, Defendants chose the infringing Lumintop
10   Bunny with the intent to trade on, and unlawfully benefit from, the goodwill and
11   popularity of the Energizer Bunny Mark and the Energizer brand.
12      41.       The Lumintop Bunny is likely to cause confusion with the Energizer
13   Bunny Mark, especially because they are used on the same products (batteries,
14   battery chargers, and flashlights and headlights) and sold to the same types of
15   consumers through overlapping channels of trade.
16      42.       The Lumintop Bunny, and products sold using that mark, are further
17   likely to cause confusion with the Energizer Bunny Mark, and products sold
18   thereunder, because Defendants advertise their products as bearing the same
19   qualities and characteristics as Energizer’s products. For example, Defendants
20   advertise their “Li-ion” batteries bearing the Lumintop Bunny as longer lasting than
21   other Li-ion batteries and able to perform in cold temperatures. See Exhibit 10.
22   Energizer similarly markets its batteries sold under the Energizer Bunny Mark, and
23   specifically advertises its lithium batteries as being the longest lasting available and
24   able to perform in cold temperatures. See Exhibit 11.
25      43.       Indeed, the Energizer Bunny Mark has come in particular to symbolize
26   the long-lasting nature of Energizer’s batteries, and Defendants’ use of a mark
27   featuring a bunny for batteries and flashlights meant to last a long time through
28   various conditions is a direct attempt to trade on the reputation, goodwill, and


     COMPLAINT                                                                       - 16 -
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 1   positive associations of the Energizer Bunny Mark with long-lasting, high quality
 2   products. See Exhibit 12 (discussing the Energizer tagline “keeps going and going”
 3   as represented by the Energizer Bunny).
 4      44.       Defendants’ actions described above remove from Energizer the ability
 5   to control the nature and quality of goods provided in connection with the Energizer
 6   Bunny Mark and place the valuable goodwill and reputation of Energizer and its
 7   Energizer Bunny Mark in the hands of Defendants, over which Energizer has no
 8   control. Moreover, Defendants’ actions create confusion that harms the public.
 9                               First Cause of Action
        (Federal Trademark Infringement in Violation of Lanham Act 15 U.S.C. §
10                                      1114(1))
                       (against Lumintop, SLOC and Yongqing)
11

12      45.       Energizer repeats, realleges, and incorporates the preceding paragraphs
13   as though fully set forth herein.
14      46.        Defendants’ unauthorized use in commerce of the Lumintop Bunny in
15   the United States is causing and is likely to continue to cause confusion, or to cause
16   mistake, or to deceive purchasers and customers as to the source, origin or
17   sponsorship of Defendants’ products. The trade and consuming public believe and are
18   likely to believe Defendants’ products originate from Energizer or from the same
19   source of origin as products bearing the Energizer Bunny Mark, and/or that there is
20   some affiliation, connection, or association between the makers of Energizer
21   products, on the one hand, and Defendants’ products, on the other, when such is not
22   the case.
23      47.       Defendants infringed, and are infringing, the federally registered and
24   incontestable Energizer Bunny Mark in violation of Section 32(1) of the Lanham Act,
25   15 U.S.C. § 1114(1).
26      48.       On information and belief, Lumintop, at the express direction and under
27   the supervision and control of its parent company SLOC and officer or director
28   Yongqing, advertised, offered for sale, and sold batteries, battery chargers, and


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 1   flashlights and headlights bearing the Lumintop Bunny. Yongqing thus directly
 2   participated in and facilitated Lumintop’s infringement of the Energizer Bunny Mark
 3   by authorizing, directing, and supervising Lumintop’s infringing actions.
 4      49.       Defendants had knowledge of Energizer’s superior rights in the
 5   Energizer Bunny Mark when they manufactured, produced, advertised, offered for
 6   sale, and sold goods bearing the confusingly similar Lumintop Bunny. Defendants
 7   willfully did so to trade on the goodwill and brand loyalty associated with the
 8   Energizer Bunny Mark, and in particular, the association of the Energizer Bunny
 9   Mark with high-quality, long lasting products.
10      50.       As a direct and proximate result of Defendants’ unlawful conduct,
11   Energizer has suffered, and will continue to suffer unless and until such activity is
12   enjoined by this Court, irreparable damage and inherently unquantifiable injury and
13   harm to its business, reputation and customer goodwill.
14      51.       Defendants’ conduct is causing, and is likely to continue to cause, injury
15   to the public and to Energizer, and Energizer is entitled to injunctive relief and to
16   recover Energizer’s actual damages and/or an award of Defendants’ profits, costs,
17   and reasonable attorneys’ fees under 15 U.S.C. §§ 1116 and 1117. Any such damages
18   and/or profits awarded should be trebled pursuant to 15 U.S.C. § 1117(a).
19                              Second Cause of Action
       (Contributory Federal Trademark Infringement under 15 U.S.C. § 1114(1))
20                                 (against SLOC)
21      52.       Energizer repeats, realleges, and incorporates the preceding paragraphs
22   as though fully set forth herein.
23      53.       SLOC contributorily infringed, and is infringing, the federally registered
24   Energizer Bunny Mark in violation of Section 32(1) of the Lanham Act, 15 U.S.C. §
25   1114(1).
26      54.       On information and belief, SLOC manufactured batteries, battery
27   chargers, and flashlights and headlights bearing the confusingly similar Lumintop
28   Bunny with knowledge of Energizer’s superior rights and that such goods would be


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 1   advertised, offered for sale, and sold in the United States. SLOC thus materially
 2   contributed to the willful offer for sale and sale of goods bearing the Lumintop
 3   Bunny.
 4      55.       As a direct and proximate result of SLOC’s unlawful conduct, Energizer
 5   has suffered, and will continue to suffer unless and until such activity is enjoined by
 6   this Court, irreparable damage and inherently unquantifiable injury and harm to its
 7   business, reputation and customer goodwill.
 8      56.       SLOC’s conduct is causing, and is likely to continue to cause, injury to
 9   the public and to Energizer, and Energizer is entitled to injunctive relief and to
10   recover Energizer’s actual damages and/or an award of Defendants’ profits, costs,
11   and reasonable attorneys’ fees under 15 U.S.C. §§ 1116 and 1117. Any such damages
12   and/or profits awarded should be trebled pursuant to 15 U.S.C. § 1117(a).
13                                Third Cause of Action
       (Federal Unfair Competition, False Representation, and False Designation of
14                          Origin under 15 U.S.C. § 1125(a))
                        (against Yongqing, SLOC, and Lumintop)
15

16      57.       Energizer repeats, realleges, and incorporates the preceding paragraphs
17   as though fully set forth herein.
18      58.        Defendants unauthorized use in commerce of the Lumintop Bunny in
19   the United States is causing and is likely to continue to cause confusion, or to cause
20   mistake, or to deceive purchasers and customers as to the source, origin or
21   sponsorship of Defendants’ products. The trade and consuming public believe and are
22   likely to believe Defendants’ products originate from Energizer or from the same
23   source of origin as products bearing the Energizer Bunny Mark, and/or that there is
24   some affiliation, connection, or association between the makers of Energizer
25   products, on the one hand, and Defendants’ products, on the other, when such is not
26   the case.
27      59.       On information and belief, Lumintop, at the express direction and under
28   the supervision and control of its parent company SLOC and officer or director


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 1   Yongqing, advertised, offered for sale and sold batteries, battery chargers, and
 2   flashlights and headlights bearing the Lumintop Bunny. Yongqing thus directly
 3   participated in and facilitated Lumintop’s infringement of the Energizer Bunny Mark
 4   by authorizing, directing, and supervising Lumintop’s infringing actions.
 5      60.       Defendants had knowledge of Energizer’s superior rights in the
 6   Energizer Bunny Mark when they manufactured, produced, advertised, offered for
 7   sale, and sold goods bearing the Lumintop Bunny. Defendants willfully did so to
 8   trade on the goodwill and brand loyalty associated with the Energizer Bunny Mark,
 9   and in particular, the association of the Energizer Bunny Mark with high-quality, long
10   lasting products.
11      61.       Defendants unauthorized use in commerce of the Lumintop Bunny in the
12   United States is causing and is likely to continue to cause confusion, to cause
13   mistake, or to deceive the public as to the origin, source, sponsorship, approval or
14   affiliation of Defendants’ products. Such conduct therefore constitutes unfair
15   competition, false representation, and a false designation of origin, all in violation of
16   Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).
17      62.       As a direct and proximate result of Defendants’ unlawful conduct,
18   Energizer has suffered, and will continue to suffer unless and until such activity is
19   enjoined by this Court, irreparable damage and inherently unquantifiable injury and
20   harm to its business, reputation and customer goodwill.
21      63.       Defendants’ conduct is causing, and is likely to continue to cause, injury
22   to the public and to Energizer, and Energizer is entitled to injunctive relief and to
23   recover Energizer’s actual damages and/or an award of Defendants’ profits, costs,
24   and reasonable attorneys’ fees under 15 U.S.C. §§ 1116 and 1117. Any such damages
25   and/or profits awarded should be trebled pursuant to 15 U.S.C. § 1117(a).
26

27

28


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 1                              Fourth Cause of Action
        (Contributory Federal Unfair Competition, False Representation, and False
 2                  Designation of Origin under 15 U.S.C. § 1125(a))
                                     (against SLOC)
 3

 4      64.       Energizer repeats, realleges, and incorporates the preceding paragraphs
 5   as though fully set forth herein.
 6      65.       On information and belief, SLOC manufactured batteries, battery
 7   chargers, and flashlights and headlights bearing the Lumintop Bunny with knowledge
 8   of Energizer’s superior rights and that such goods would be advertised, offered for
 9   sale, and sold in the United States by Yongqing and Lumintop using the Lumintop
10   Bunny.
11      66.       By manufacturing goods bearing the Lumintop Bunny, SLOC materially
12   assisted or contributed to Defendants’ offer for sale and sale of goods bearing the
13   Lumintop Bunny in the United States, which is causing and is likely to continue to
14   cause confusion, to cause mistake, or to deceive the public as to the origin, source,
15   sponsorship, approval or affiliation of Defendants’ products. Such conduct therefore
16   constitutes unfair competition, false representation, and a false designation of origin,
17   all in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).
18      67.       As a direct and proximate result of SLOC’s unlawful conduct, Energizer
19   has suffered, and will continue to suffer unless and until such activity is enjoined by
20   this Court, irreparable damage and inherently unquantifiable injury and harm to its
21   business, reputation and customer goodwill.
22      68.       SLOC’s conduct is causing, and is likely to continue to cause, injury to
23   the public and to Energizer, and Energizer is entitled to injunctive relief and to
24   recover Energizer’s actual damages and/or an award of Defendants’ profits, costs,
25   and reasonable attorneys’ fees under 15 U.S.C. §§ 1116 and 1117. Any such damages
26   and/or profits awarded should be trebled pursuant to 15 U.S.C. § 1117(a).
27

28


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 1                                 Fifth Cause of Action
                  (Federal Trademark Dilution Under 15 U.S.C. § 1125(c))
 2                       (against Yongqing, SLOC, and Lumintop)
 3      69.       Energizer repeats, realleges, and incorporates the preceding paragraphs
 4   as though fully set forth herein.
 5      70.       The Energizer Bunny Mark is famous under 15 U.S.C. § 1125(c)(2)(A),
 6   in that it is widely recognized by the general consuming public of the United States as
 7   a designation of the source of Energizer’s goods and services. The Energizer Bunny
 8   Mark became famous before Defendants began making unlawful use in the United
 9   States of the Lumintop Bunny.
10      71.       Defendants’ unauthorized use of the Lumintop Bunny in the United
11   States is diluting and is likely to dilute by blurring the famous Energizer Bunny
12   Mark, in violation of Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c), by
13   lessening its capacity to identify and distinguish Energizer exclusively as the source
14   of products bearing or provided under the famous Energizer Bunny Mark.
15      72.       On information and belief, Defendants SLOC and Lumintop, at the
16   express direction and under the supervision of Yongqing, willfully used the Lumintop
17   Bunny to trade on the goodwill and brand loyalty associated with the Energizer
18   Bunny Mark, and in particular, the association of the Energizer Bunny Mark with
19   high-quality, long lasting products.
20      73.       Defendants’ trademark dilution has injured and will continue to injure
21   Energizer in that Energizer has suffered and will continue to suffer damage to its
22   reputation and customer goodwill as a direct and proximate result of Defendants’
23   unlawful conduct, unless such unlawful conduct is enjoined by this Court. In
24   addition, Defendants have been unjustly enriched by reason of its acts of trademark
25   dilution because it has obtained the opportunity to earn future sales and profits, as a
26   direct and proximate result of its unlawful conduct.
27      74.       Energizer is entitled to recover all damages sustained by Defendants’
28   actions, all profits realized by Defendants through its unlawful use of the Lumintop


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 1   Bunny, treble damages and/or profits, and an award of reasonable attorneys’ fees and
 2   costs against Defendants.
 3                               Sixth Cause of Action
          (Contributory Federal Trademark Dilution Under 15 U.S.C. § 1125(c))
 4                                  (against SLOC)
 5      75.       Energizer repeats, realleges, and incorporates the preceding paragraphs
 6   as though fully set forth herein.
 7      76.       The Energizer Bunny Mark is famous under 15 U.S.C. § 1125(c)(2)(A),
 8   in that it is widely recognized by the general consuming public of the United States as
 9   a designation of the source of Energizer’s goods and services. The Energizer Bunny
10   Mark became famous before SLOC began contributing to Yongqing and Lumintop’s
11   unlawful use in the United States of the Lumintop Bunny.
12      77.       On information and belief, SLOC manufactured batteries, battery
13   chargers, and flashlights and headlights bearing the Lumintop Bunny with knowledge
14   of Energizer’s superior rights and that such goods would be advertised, offered for
15   sale, and sold in the United States by Yongqing and Lumintop.
16      78.       SLOC’s manufacture of batteries, battery chargers, and flashlights and
17   headlights bearing the Lumintop Bunny it knew would be offered for sale or sold in
18   the United States materially contributed to the dilution and likely dilution the famous
19   Energizer Bunny Mark by blurring, in violation of Section 43(c) of the Lanham Act,
20   15 U.S.C. § 1125(c), by lessening its capacity to identify and distinguish Energizer
21   exclusively as the source of products bearing or provided under the famous Energizer
22   Bunny Mark.
23      79.       Yongqing and Lumintop’s trademark dilution, as materially assisted by
24   SLOC’s manufacture of batteries, battery chargers, flashlights, and headlights bearing
25   the Lumintop Bunny, has injured and will continue to injure Energizer in that
26   Energizer has suffered and will continue to suffer damage to its reputation and
27   customer goodwill as a direct and proximate result of Defendants’ unlawful conduct,
28   unless such unlawful conduct is enjoined by this Court. In addition, Defendants have


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 1   been unjustly enriched by reason of its acts of trademark dilution because it has
 2   obtained the opportunity to earn future sales and profits, as a direct and proximate
 3   result of its unlawful conduct.
 4      80.       Energizer is entitled to recover all damages sustained by Defendants’
 5   actions, all profits realized by Defendants through its unlawful use of the Lumintop
 6   Bunny, treble damages and/or profits, and an award of reasonable attorneys’ fees and
 7   costs against Defendants.
 8                                Seventh Cause of Action
                      (California Statutory Unfair Competition under
 9               California Business and Professions Code § 17200, et seq.)
                        (against Yongqing, SLOC, and Lumintop)
10

11      81.       Energizer repeats, realleges and incorporates the preceding paragraphs
12   as though fully set forth herein.
13      82.       Defendants unauthorized use in commerce of the Lumintop Bunny is
14   causing and is likely to continue to cause confusion, or to cause mistake, or to
15   deceive purchasers and customers as to the source, origin or sponsorship of
16   Defendants’ products. The trade and consuming public believe and are likely to
17   believe Defendants’ products originate from Energizer or from the same source of
18   origin as products bearing the Energizer Bunny Mark, and/or that there is some
19   affiliation, connection, or association between the makers of Energizer products, on
20   the one hand, and Defendants’ products, on the other, when such is not the case.
21      83.       Defendants conduct constitutes unfair and deceptive acts or practices in
22   the course of a business, trade, or commerce in violation of CAL. BUS. & PROF.
23   CODE § 17200, et seq.
24      84.       On information and belief, Lumintop, at the express direction and under
25   the supervision and control of its parent company SLOC and officer or director
26   Yongqing, offered for sale and sold batteries, battery chargers, and flashlights and
27   headlights bearing the Lumintop Bunny. Yongqing thus directly participated in and
28   facilitated Lumintop’s unfair business practices.


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 1      85.       Defendants had knowledge of Energizer’s superior rights in the
 2   Energizer Bunny Mark when they manufactured, produced, advertised, offered for
 3   sale, and sold goods bearing the Lumintop Bunny. Defendants willfully did so to
 4   trade on the goodwill and brand loyalty associated with the Energizer Bunny Mark,
 5   and in particular, the association of the Energizer Bunny Mark with high-quality, long
 6   lasting products.
 7      86.       As a direct and proximate result of Defendants’ unlawful conduct,
 8   Energizer has suffered, and will continue to suffer unless and until such activity is
 9   enjoined by this Court, irreparable damage and inherently unquantifiable injury and
10   harm to its business, reputation and customer goodwill. In addition, Defendants have
11   been unjustly enriched by reason of its acts of unfair competition because it has
12   obtained the opportunity to earn future sales and profits, as a direct and proximate
13   result of its unlawful conduct.
14                                Eighth Cause of Action
               (Contributory California Statutory Unfair Competition under
15               California Business and Professions Code § 17200, et seq.)
                                      (against SLOC)
16

17      87.       Energizer repeats, realleges and incorporates the preceding paragraphs
18   as though fully set forth herein.
19      88.       On information and belief, SLOC manufactured batteries, battery
20   chargers, and flashlights and headlights bearing the Lumintop Bunny with knowledge
21   of Energizer’s superior rights and that such goods would be advertised, offered for
22   sale, and sold in the United States by Yongqing and Lumintop using the Lumintop
23   Bunny.
24      89.       By manufacturing goods bearing the Lumintop Bunny, SLOC materially
25   assisted or contributed to Defendants’ sale of goods bearing the Lumintop Bunny in
26   the United States, which is causing and is likely to continue to cause confusion, to
27   cause mistake, or to deceive the public as to the origin, source, sponsorship, approval
28   or affiliation of Defendants’ products. Such conduct therefore constitutes unfair


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 1   competition, false representation, and a false designation of origin, all in violation of
 2   CAL. BUS. & PROF. CODE § 17200, et seq.
 3      90.       SLOC had knowledge of Energizer’s superior rights in the Energizer
 4   Bunny Mark when it manufactured goods bearing the Lumintop Bunny for sale in the
 5   United States
 6      91.       As a direct and proximate result of SLOC’s unlawful conduct, Energizer
 7   has suffered, and will continue to suffer unless and until such activity is enjoined by
 8   this Court. In addition, Defendants have been unjustly enriched by reason of its acts
 9   of trademark dilution because it has obtained the opportunity to earn future sales and
10   profits, as a direct and proximate result of its unlawful conduct.
11                                 Ninth Cause of Action
                      (California Statutory Trademark Dilution under
12                California Business and Professions Code § 14247 et seq.)
                         (against Yongqing, SLOC, and Lumintop)
13

14      92.       Energizer repeats, realleges, and incorporates the preceding paragraphs
15   as though fully set forth herein.
16      93.       The Energizer Bunny Mark is famous in that it is widely recognized by
17   the general consuming public of California as a designation of the source of
18   Energizer’s goods and services. The Energizer Bunny Mark became famous before
19   Defendants’ unlawful use of the Lumintop Bunny in the United States.
20      94.       Defendants’ willful and knowing use of the Lumintop Bunny is diluting
21   and is likely to dilute the distinctive quality of the Energizer Bunny Mark, in
22   violation of CAL. BUS. & PROF. CODE § 14247 et seq., by lessening its capacity to
23   identify and distinguish Energizer exclusively as the source of products bearing or
24   provided under the famous Energizer Bunny Mark.
25      95.       Defendants’ trademark dilution has injured and will continue to injure
26   Energizer in that Energizer has suffered and will continue to suffer damage to its
27   reputation and customer goodwill as a direct and proximate result of Defendants’
28   unlawful conduct, unless such unlawful conduct is enjoined by this Court. In


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 1   addition, Defendants have been unjustly enriched by reason of its acts of trademark
 2   dilution because it has obtained the opportunity to earn future sales and profits, as a
 3   direct and proximate result of its unlawful conduct.
 4      96.       Energizer is entitled to recover all damages sustained by Defendants’
 5   actions, all profits realized by Defendants through its unlawful use of the Lumintop
 6   Bunny, treble damages and/or profits, and an award of reasonable attorneys’ fees and
 7   costs against Defendants.
 8                                Tenth Cause of Action
               (Contributory California Statutory Trademark Dilution under
 9               California Business and Professions Code § 14247 et seq.)
                                      (against SLOC)
10

11      97.       Energizer repeats, realleges, and incorporates the preceding paragraphs
12   as though fully set forth herein.
13      98.       The Energizer Bunny Mark is famous in that it is widely recognized by
14   the general consuming public of California as a designation of the source of
15   Energizer’s goods and services. The Energizer Bunny Mark became famous before
16   Defendants’ unlawful use of the Lumintop Bunny in the United States.
17      99.       By manufacturing goods bearing the Lumintop Bunny, SLOC materially
18   assisted or contributed to Defendants’ willful sale of goods bearing the Lumintop
19   Bunny in the United States, which is causing and is likely to continue to dilute the
20   distinctive quality of the Energizer Bunny Mark, in violation of CAL. BUS. & PROF.
21   CODE § 14247 et seq., by lessening its capacity to identify and distinguish Energizer
22   exclusively as the source of products bearing or provided under the famous Energizer
23   Bunny Mark.
24     100.       SLOC had knowledge of Energizer’s superior rights in the Energizer
25   Bunny Mark when it manufactured goods bearing the Lumintop Bunny for sale in the
26   United States
27     101.       SLOC’s actions injured and will continue to injure Energizer in that
28   Energizer has suffered and will continue to suffer damage to its reputation and


     COMPLAINT                                                                      - 27 -
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 1   customer goodwill as a direct and proximate result of Defendants’ unlawful conduct,
 2   unless such unlawful conduct is enjoined by this Court. In addition, Defendants have
 3   been unjustly enriched by reason of its acts of trademark dilution because it has
 4   obtained the opportunity to earn future sales and profits, as a direct and proximate
 5   result of its unlawful conduct.
 6     102.       Energizer is entitled to recover all damages sustained by Defendants’
 7   actions, all profits realized by Defendants through its unlawful use of the Lumintop
 8   Bunny, treble damages and/or profits, and an award of reasonable attorneys’ fees and
 9   costs against Defendants.
10                             Eleventh Cause of Action
       (Trademark Infringement and Unfair Competition in Violation of California
11                                  Common Law)
                     (against Yongqing, SLOC, and Lumintop)
12

13     103.       Energizer repeats, realleges, and incorporates Paragraphs 1-61 as
14   though fully set forth herein.
15     104.        Defendants unauthorized use in commerce of the Lumintop Bunny is
16   causing and is likely to continue to cause confusion, or to cause mistake, or to
17   deceive purchasers and customers as to the source, origin or sponsorship of
18   Defendants’ products. The trade and consuming public believe and are likely to
19   believe Defendants’ products originate from Energizer or from the same source of
20   origin as products bearing the Energizer Bunny Mark, and/or that there is some
21   affiliation, connection, or association between the makers of Energizer products, on
22   the one hand, and Defendants’ products, on the other, when such is not the case.
23     105.       On information and belief, Lumintop, at the express direction and under
24   the supervision and control of its parent company SLOC and officer or director
25   Yongqing, offered for sale and sold batteries, battery chargers, and flashlights and
26   headlights bearing the Lumintop Bunny. Yongqing thus directly participated in and
27   facilitated Lumintop’s infringement of the Energizer Bunny Mark by authorizing,
28   directing, and supervising Lumintop’s infringing actions.


     COMPLAINT                                                                     - 28 -
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 1     106.       Defendants had knowledge of Energizer’s superior rights in the
 2   Energizer Bunny Mark when they manufactured, produced, advertised, offered for
 3   sale, and sold goods bearing the Lumintop Bunny. Defendants willfully did so to
 4   trade on the goodwill and brand loyalty associated with the Energizer Bunny Mark,
 5   and in particular, the association of the Energizer Bunny Mark with high-quality, long
 6   lasting products.
 7     107.       Defendants unauthorized use in commerce of the Lumintop Bunny in the
 8   California is causing and is likely to continue to cause confusion, to cause mistake, or
 9   to deceive the public as to the origin, source, sponsorship, approval or affiliation of
10   Defendants’ products in violation of the common law of California.
11     108.       As a direct and proximate result of Defendants’ unlawful conduct,
12   Energizer has suffered, and will continue to suffer unless and until such activity is
13   enjoined by this Court, irreparable damage and inherently unquantifiable injury and
14   harm to its business, reputation and customer goodwill.
15                               Twelfth Cause of Action
       (Contributory California Common Law Trademark Infringement and Unfair
16                                    Competition)
                                    (against SLOC)
17

18     109.       Energizer repeats, realleges, and incorporates Paragraphs 1-61 as
19   though fully set forth herein.
20     110.       On information and belief, SLOC manufactured batteries, battery
21   chargers, and flashlights and headlights bearing the Lumintop Bunny with knowledge
22   of Energizer’s superior rights and that such goods would be advertised, offered for
23   sale, and sold by Yongqing and Lumintop using the Lumintop Bunny.
24     111.       By manufacturing goods bearing the Lumintop Bunny, SLOC materially
25   assisted or contributed to Defendants’ sale of goods bearing the Lumintop Bunny in
26   the United States, which is causing and is likely to continue to cause confusion, to
27   cause mistake, or to deceive the public as to the origin, source, sponsorship, approval
28   or affiliation of Defendants’ products in violation of the common law of California.


     COMPLAINT                                                                      - 29 -
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 1     112.       As a direct and proximate result of SLOC’s unlawful conduct, Energizer
 2   has suffered, and will continue to suffer unless and until such activity is enjoined by
 3   this Court, irreparable damage and inherently unquantifiable injury and harm to its
 4   business, reputation and customer goodwill.
 5                                 PRAYER FOR RELIEF
 6         WHEREFORE, Energizer prays that:
 7         1.     Defendants and all of their agents, officers, employees, representatives,
 8   successors, assigns, attorneys, and all other persons acting for, with, by, through, or
 9   under authority from Defendants, or in concert or participation with Defendants, and
10   each of them, be enjoined permanently from:
11                a.     any and all further unauthorized use in the United States of the
12   Lumintop Bunny, and any other colorable imitation of the Energizer Bunny
13   Trademark, as a trademark, trade name, or other attention-getting device or
14   triggering mechanism, including the recall and destruction of all packaging,
15   advertising, and promotional materials bearing the Lumintop Bunny or any other
16   colorable imitation of the Energizer Bunny Trademark;
17                b.     using any trademark, trade dress, service mark, name, logo,
18   design or source of designation of any kind on or in connection with Defendants’
19   goods or services that is likely to cause confusion, mistake, deception, or public
20   misunderstanding that such goods or services are produced or provided by
21   Energizer, are sponsored or authorized by Energizer, or are in any way connected or
22   related to Energizer;
23         2.     Defendants be compelled to account to Energizer for any and all profits
24   derived by Defendants from the sale or distribution of infringing goods or services
25   as described in this Complaint, including prejudgment interest thereon;
26         3.     Energizer be awarded all damages caused by the acts forming the basis
27   of this Complaint, together with prejudgment interest thereon;
28         4.     Based on Defendants’ knowing and intentional use of confusing similar


     COMPLAINT                                                                      - 30 -
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 1   imitations of the Energizer Bunny Mark, the damages award be trebled and the
 2   award of Defendants’ profits be enhanced as provided for by 15 U.S.C. § 1117(a);
 3           5.    Defendants be required to pay Energizer the costs of this action and
 4   Energizer’s reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117(a), and the state
 5   statutes cited in this Complaint;
 6           6.    Based on Energizer’s willful and deliberate infringement of the
 7   Energizer Bunny Mark, and to deter such conduct in the future, Energizer be
 8   awarded punitive damages; and
 9           7.    Energizer have such other and further relief as the Court may deem
10   just.
11                                 JURY TRIAL DEMAND
12           Energizer respectfully demands a trial by jury on all claims and issues so
13   triable.
14

15   DATED: May 20, 2019                 KILPATRICK TOWNSEND & STOCKTON
                                         LLP
16

17
                                         By: /s/ Dennis L. Wilson
18                                           Dennis L. Wilson
                                             Caroline Y. Barbee
19                                           Attorneys for Plaintiff Energizer Brands
                                             LLC
20
                                             William H. Brewster (Pro Hac Vice
21                                           Pending)
                                             Jennifer Fairbairn Deal (Pro Hac Vice
22                                           Pending)
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     COMPLAINT                                                                       - 31 -
